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                IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF DELAWARE


IN RE:                                        Chapter 11
                                              Case No. 20-10343 (LSS)
BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,                            (Jointly Administered)

                       Debtors.




         CENTURY’S BRIEF RESPONDING TO THE COURT’S QUESTIONS
              POSED AT THE END OF THE MAY 4, 2020 HEARING



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                      RESPONSE TO THE COURT’S FIRST QUESTION

        At the end of the evidentiary hearing on May 4, 2020, the Court posed the following

question: What should the Court do if the lawyer and client disagree about whether there is a

conflict. Critical to the response is that this is a retention application, not a disqualification

motion. Therefore, under Third Circuit precedent, Sidley and Debtors have the burden of proof.1

Sidley does not even contest that it had the burden to disclose affirmatively its relationship with

the Boy Scouts and obtain Chubb’s informed consent. Indeed, Sidley acknowledges that burden

is a weak spot; otherwise it would not have argued in its Reply that Chubb’s objection is really a

sub rosa disqualification motion, which it obviously is not.2 To the extent there is any doubt, the

Court must conclude that Sidley and Debtors have not carried their burden. But this is not a tie,

Sidley and Debtors have not adduced evidence even close to carrying their burden of proof.

        Sidley admitted facts that defeat the retention application: It did not obtain informed

written consent to a conflict waiver from Chubb, as Rules 1.7(b) and 1.9(a), as well as the SLA,

require. Sidley also admitted that it did not share with Chubb relevant facts about its Boy Scouts

representation until late October 2019, and even then it continued to withhold vital information.

These are critical facts because the Third Circuit teaches that in addition to having an obligation

to obtain a written waiver, a lawyer has to make sure that the waiver is based on “truly informed



1
    In re Corn Derivatives Antitrust Litig., 748 F.2d 157, 162 (3d Cir. 1984); see also In re Fisker Auto.
    Holdings, Inc. S’holder Litig., No. CV 13-2100-DBS-SRF, 2018 WL 3991470, at *3, n.5 (D. Del.
    Aug. 20, 2018) (“[T]he burden shifts to the attorney seeking permission to pursue an otherwise
    impermissible dual representation in the context of the informed consent analysis.”); accord United
    States v. Gordon, 334 F. Supp. 2d 581, 587 (D. Del. 2004); In re Duvall, No. 19-112272, 2020 WL
    1492769, at *2 (Bankr. W.D. Ky. Mar. 25, 2020) (“While the burden of proof in seeking
    disqualification of opposing counsel is on the party seeking disqualification, a professional seeking
    appointment under Section 327 bears the initial burden of proof that they meet all qualifications of the
    statute in order to obtain appointment.”).
2
    Sidley’s April 28, 2020 Reply in Support of Retention at ¶ 48.



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consent.”3 As counsel, Sidley was “in the best position to ensure that the [informed consent]

requirement is met,” and Sidley had and has “responsibility for safeguarding the client’s

interests.”4 Given the facts here, even if the Court were to credit all of Sidley’s evidence—

though there were holes and inconsistencies in it—the retention application must fail.

I.      SIDLEY’S EVIDENCE IS IRRELEVANT.

        Most of Sidley’s evidence went primarily to two issues: (i) Sidley tried to establish that it

was justified in its view that there was no conflict, and, at worst, it made a good-faith, honest

mistake about that (the alleged “reasonableness” about which Professor Rapoport opined); and

(ii) Chubb knew or should have known that Sidley represented the Boy Scouts and the nature of

that representation—despite Sidley’s admission that it did not disclose any details—and Chubb

was somehow at fault in not acting on its concerns earlier (alleged delay). Both allegations—

even if true—are legally irrelevant. In fact, the evidence proves just the opposite.

        First, that Sidley may have been reasonable in believing there was no conflict is beside

the point—a conflict is a conflict. There is no intent element under either Rule 1.7 or 1.9. And

certainly, there is no intent requirement under the SLA. Sidley could not take on the Boy Scouts

engagement—even if it was reasonable or honestly mistaken in its belief—without informing

Chubb and obtaining its written consent. Relatedly, Chubb had no ethical or legal duty—or even

reason—to question its lawyer’s assurance that there was no problem. And Sidley admitted that

it gave such assurance to Chubb in October 2018, as well as later in December 2018 and 2019,

when it accepted a new matter involving a second Boy Scouts reinsurance dispute for Chubb.




3
     See In re Congoleum Corp., 426 F.3d 675, 691 (3d Cir. 2005).
4
     Celgene Corp. v. KV Popharm. Co., No. 07-4819SDW, 2008 WL 2937415, at *7 (D.N.J. July 29,
     2008) (quoting Baldasarre v. Butler, 625 A.2d 458, 464 (1993)).



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       Attorneys must bear the consequences of their mistaken no-conflict calls. Where a

lawyer fails to investigate adequately whether a conflict exists, that is all the more reason to

disapprove the retention.5 Here, Sidley has put no facts before the Court about its conflicts

investigation, if any, or demonstrated the adequacy of that diligence, other than William Sneed’s

testimony that he has never believed that underlying coverage issues affect his reinsurance work.

Similarly, Sidley adduced no evidence about the basis for the assurance in December 2018 that

there is no problem, other than a conversation Mr. Sneed had with the originating partner for the

Boy Scouts, James Conlon. Though he lists on his firm bio the Boy Scouts as his first

“representative” engagement, Mr. Conlon was noticeably absent from this proceeding.6 There is

thus no evidence of a reasonable or adequate conflicts search here or that Chubb gave its written

consent to a concurrent engagement. And while Sidley suggests that the Boy Scouts instructed it

to keep Chubb in the dark, it has offered nothing from the Boy Scouts.

       Of course, the evidence shows that that there was a conflict—and that Sidley even knew

about it. In retrospect, it is apparent that Sidley admitted adversity when it requested a

prospective waiver from Chubb in January 2019, stating that it wished to make clear that “we

may be directly adverse to you in the bankruptcy proceeding.”7 Sidley then specifically noted

that the adversity may involve “confirming or supporting a plan over creditor or insurer

objections.”8 Sidley’s only explanation for this devastating admission is that it sent subsequent

communications that did not include that language. But why should that make any difference?




5
    In re Meridian Auto. Sys.-Composite Operations, Inc., 340 B.R. 740, 750 (Bankr. D. Del. 2006).
6
    See https://www.sidley.com/en/people/c/conlan-james-f (Last visited on May 5, 2020).
7
    Janine Panchok-Berry’s April 30, 2020 Declaration Ex. 1 (emphasis added).
8
    Id. (emphasis added).



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         Even Sidley’s expert did not opine that there was no conflict. Professor Rapoport merely

observed that Sidley was reasonable in its belief that the reinsurance work was not substantially

related to its work for the Boy Scouts. Her extremely narrow statement about an admitted non-

issue speaks loudly to the existence of a conflict here. Professor Rapoport also not refute the

bedrock principal of ethics law that a conflict is supposed to be analyzed at the time the conflict

exists, not after the law firm attempts to withdraw unilaterally because its client will not waive

the conflict.9

         Second, the details about the timing on which Sidley focused are irrelevant—in addition

to inaccurate (as Chubb was a client for years before Sidley started representing the Boy Scouts).

Nothing in either Rule 1.7 or Rule 1.9 permits Sidley to continue with a conflicted relationship

after it discovers its existence. Even if the Court were to analyze this as a former-client

relationship and apply Rule 1.9, in the event of a conflict, Sidley must withdraw from both

representations. What matters is adversity, which Sidley admitted.

II.      SIDLEY IS PRESUMED TO HAVE RECEIVED CONFIDENTIAL
         INFORMATION BASED ON ITS ROLE AS CENTURY’S COUNSEL.

         Sidley claims that it only received non-privileged materials when it started working on

the Chubb arbitrations regarding Boy Scouts reinsurance. Even if that claim were assumed to be

true, and it were also true that Chubb is a former client, the Court “should not look at what

information the attorney or law firm actually acquired from the former client but whether the

attorney ‘might have acquired information related to the subject matter of his subsequent

representation.’”10 “The United States Court of Appeals for the Third Circuit ‘has adopted the


9
      See Point I-B in Chubb’s opening objection brief and cases cited there.
10
      Conley v. Chaffinch, 431 F. Supp. 2d 494, 498 (D. Del. 2006) (quoting Richardson v. Hamilton Int’l
      Corp., 469 F.2d 1382, 1385 (3d Cir.1972)); see also In re Ram Mfg., Inc., 49 B.R. 53, 55 (Bankr.
      E.D. Pa. 1985)).



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position an attorney should be disqualified if he may have acquired material that is substantially

related to his disputed representation in the course of a prior employment.’”11 Therefore, “once

an attorney-client relationship is established”—as is the case here—“a presumption arises that

confidential information was conveyed to the attorney in the prior matter.”12

         Sidley cannot simply assert that it only received documents that others could access and

wash its hands of its ethical duties. The documents that a lawyer received need not themselves

be confidential for the lawyer to possess confidential information worthy of protection under the

ethical rules.13 Judge Walrath made this point in response to a law firm’s argument that it did

not possess confidential information because it has only received non-propriety documents that

an adversary could access.14 She explained:

                 This misses the point. The duty of confidentiality “applies not only to
                 matters communicated in confidence by the client but also to all
                 information relating to the representation, whatever its source.”
                 Milbank’s own legal conclusions about the Credit Documents and advice
                 to Stanfield are particularly confidential.15

Chubb witness Christine Russell echoed this very point when she explained that the confidences

she exchanged with Mr. Sneed was not just about the documents provided, but about the

conversations you have where you “tell your lawyer . . . what’s been keeping you up at night.”16

Joshua Schwartz similarly testified that he discussed with Mr. Sneed privileged and strategic

issues about the underlying coverage cases.17 Sidley did not even try to rebut this evidence.


11
     In re Ram Mfg., Inc., 49 B.R. 53, 55 (Bankr. E.D. Pa. 1985) (quoting Akerly v. Red Barn System,
     Inc., 551 F.2d 539, 544 n. 12 (3d Cir.1977)).
12
     Id. (emphasis added).
13
     In re Meridian Auto. Sys.-Composite Operations, Inc., 340 B.R. 740, 747 (Bankr. D. Del. 2006).
14
     Id.
15
     Id. (quoting Model R. Prof’l Conduct 1.6, cmt. [3]).
16
     Testimony of Christine Russell, May 4, 2020 Hearing Transcript (“Hr’g Tr.”) at 151:25–152:5.
17
     Testimony of Joshua Schwartz, Hr’g Tr. at 207:1–4, 8–10.



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         The proof Chubb offered more than justifies the presumption that the law implies. If the

Court were to accept Mr. Sneed’s description in his declaration of his legal engagement and how

the Boy Scouts have described the issues currently disputed between them and Chubb in its

pleading, Sidley’s work overlaps with matters in dispute between the Boy Scouts and Chubb:


              Matters Mr. Sneed’s Admits in His                     Boy Scouts Request for Relief Against
              Declaration Were At Issue in His                           Chubb in Pending Litigation
               legal Representation of Chubb

      Allocation                                              Allocation
      “Century had originally allocated the claim             Whether INA and Century are barred “from
      payments to the underlying BSA policies pursuant        allocating liability for Underlying Lawsuits to
      to. . . ” (Sneed Decl. ¶ 13, ECF No. 532)               insurance policies for each year of abuse.”
                                                              (April 14, 2020 Panchok-Berry Decl. Ex. D at 20,
      Referring to work on Century bills “that spread its     ECF No. 437)
      defense and indemnity payments for each
      individual abuse claim across all policy years
      during which abuse took place. (Sneed Decl.
      ¶ 15, ECF No. 532)



      Occurrence                                              Occurrence
      Century “accumulated multiple individual claims         Which insurance policies the FEA’s definition of
      as a single ‘occurrence’ under the reinsurance          “occurrence,” as the first instance of abuse even if
      treaties.” (Sneed Decl. ¶ 15, ECF No. 532)              abuse was ongoing, applies to. (April 14, 2020
                                                              Panchok-Berry Decl. Ex. D at 8–9, 20, ECF No.
                                                              437)


         As the Court heard from witnesses at the hearing, the Boy Scouts have expressly targeted

discovery at the work Sidley has done representing Chubb. The evidence in the record shows

that the Boy Scouts are seeking the following:

         1.        Documents and communications between Century and its Reinsurers on the
                   Boy Scouts’ policies, including but not limited to submissions in connection with
                   the Lloyd’s arbitration and the related litigation in the District of Massachusetts,
                   in which Sidley represented Century.18
         2.        Documents and communications between Century and its Reinsurers regarding
                   the Boy Scouts, their insurance policies, abuse claims against the Boy Scouts, and
                   claims for coverage of those claims or any other insurance claims made by the
                   Boy Scouts.19

18
     April 14, 2020 Panchok-Berry Decl. Ex. F at 8–9, ECF No. 437.
19
     Id. Ex. F at 12.



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          3.      Identify all litigation involving Century and the Reinsurers of the Subject
                  Insurance Policies involving the Sexual Abuse Claims, including but not limited
                  to (1) the arbitration between Century and the Reinsurers and (2) litigation with
                  Lloyd’s in the District of Massachusetts, in which Sidley represented Century.20
          4.      Identify all communications with the Reinsurers, dating back to 2008, regarding
                  the relevant abused claims against the Boy Scouts.21

          Wearing its hat as the Boy Scouts’ lawyer, Sidley is silent about why the Boy Scouts

contend that Sidley’s reinsurance work for Chubb is relevant to the Boy Scouts-Chubb disputes.

While it is true that Century has objected on various grounds to this discovery, including

relevance, that is entirely beside the point. The fact that the Boy Scouts have not dropped the

requests leaves the issue in dispute, which makes it relevant to this proceeding and is an example

of the adversity between Chubb and the Boy Scouts.

III.      THE RETENTION APPLICATION MUST FAIL BECAUSE IT
          WOULD GIVE RISE TO THE APPEARANCE OF IMPROPRIETY.

          In the face of the facts here, even if the Court were to conclude that the evidence is

disputed about whether there is a conflict, the glaring appearance of impropriety bars the

retention application. That appearance of impropriety would cast a shadow over the entire

bankruptcy and affect whatever reorganization plan the Court finally approves. Much of the

work from now until that date and any subsequent appeals could go to waste.

          Apeldyn Corp. is instructive, where after determining it had no conflict, a law firm and

proceeded with the representation, ultimately leading to disqualification under Rule 1.9.22 The

court considered both whether the matters were substantially related and whether there was an

appearance of impropriety because the “maintenance of public confidence in the propriety of the

conduct of those associated with the administration of justice is so important, a court may

20
       Id. Ex. G at 8–9.
21
       Id. Ex. G at 9 (emphasis added).
22
       Apeldyn Corp. v. Samsung Elecs. Co., 693 F. Supp. 2d 399 (D. Del. 2010).



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disqualify an attorney for failing to avoid even the appearance of impropriety.”23 The court went

on to explain that “any doubt as to the propriety of the representation should be resolved in favor

of disqualification.”24

         The same doubt—to the extent it exists in the Court’s mind—must be resolved against

approving the retention application. “Indeed, the courts have gone so far as to suggest that

doubts as to the existence of an asserted conflict of interest should be resolved in favor of

disqualification.”25 The court’s duty to supervise ethical conduct, a duty that is “designed to

protect the public interest and not merely the interest of the particular moving party,” is

heightened in the bankruptcy context.26

                      RESPONSE TO THE COURT’S SECOND QUESTION

         The Court also asked about the significance of Chubb’s insurance. While Chubb’s view

is that this question has no bearing on whether Sidley has an ethical conflict, and without

compromising Chubb’s position in the coverage dispute with the Boy Scouts, the response is as

follows: Chubb is alleged to have issued primary policies covering periods from 1/1/1962–1/1/72

and 1/1/1978–3/1/96. The primary policies in effect from 1/1/1983–3/1/86 have been exhausted.

Chubb is alleged to have issued excess policies at various times beginning in March 1969.

Chubb refers the Court to the Boy Scouts’ information brief for a further statement of its

allegations about its insurance program.




23
     Id. at 404 (internal citations and quotations omitted).
24
     Id. at 404 (internal citations and quotations omitted).
25
     In re Meridian, 340 B.R. at 749.
26
     In re Meridian, 340 B.R. at 749.



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                                          CONCLUSION

       Century respectfully requests that the Court deny Debtors’ application to retain Sidley

and grant such other relief as is just and proper.

Dated: May 6, 2020                                   Respectfully Submitted,
       Wilmington, Delaware

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                                                     Fire Insurance Company and Westchester
                                                     Surplus Lines Insurance Company




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